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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                     CRIMINAL ACTION
v.                                          )
                                            )                     No. 13-20041-01-KHV
MENDY READ-FORBES,                          )
                                            )
                         Defendant.         )
____________________________________________)

                                            ORDER

       This matter is before the Court on defendant’s Motion To Stay Restitution (Doc. #80) filed

April 20, 2020. For reasons stated below, the Court dismisses defendant’s motion.

       Defendant asks for a stay of restitution payments until January of 2021. On November 12,

2014, the Court ordered Brian Forbes, a co-defendant in this action, to pay restitution. See

Judgment In A Criminal Case (Doc. #57) filed November 13, 2014 at 5. The Court did not impose

an order of restitution or judgment against defendant in this case. Shortly after sentencing in a

related case, D. Kan. No. 12-20099-01, the Court granted the government’s motion to dismiss

defendant from this case. See Order (Doc. #77) filed May 5, 2015 in D. Kan. No. 12-20099-01.

Defendant’s restitution obligation in Case Number 12-20099 is joint and several with Brian

Forbes, but she does not owe restitution as part of this action. Accordingly, the Court dismisses

defendant’s motion.

       IT IS THEREFORE ORDERED that defendant’s Motion To Stay Restitution (Doc. #80)

filed April 20, 2020 is DISMISSED.

       Dated this 6th day of July, 2020 at Kansas City, Kansas.

                                                           s/ Kathryn H. Vratil
                                                           KATHRYN H. VRATIL
                                                           United States District Judge
